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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  – – – – – – – – – – – – – – –X

  UNITED STATES OF AMERICA
                                                           ORDER
          - against -
                                                           Docket No. 22-CR-429 (JMA)
  VLADIMIR ANTONIO AREVALO-CHAVEZ,

                           Defendant.

  – – – – – – – – – – – – – – –X


                 Upon the application of John J. Durham, United States Attorney for the Eastern

 District of New York, it is hereby ORDERED that the underlying indictment, Criminal Docket

 No. 22-429 Document 18, be dismissed without prejudice, with respect to the above-referenced

 defendant only.


 Dated:     Central Islip, New York
            April _____, 2025


                                             HONORABLE JOAN M. AZRACK
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF NEW YORK
